Case 1:25-cv-10338-AK Document 89 Filed 02/19/25 Page 1of6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

COMMONWEALTH OF
MASSACHUSETTS, et al.

Plaintiffs,
v. Case No.: 1:25-cv-10338-AK

NATIONAL INSTITUTES OF HEALTH,
et al.

Defendants.

ASSOCIATION OF AMERICAN
MEDICAL COLLEGES, et al.

Plaintiffs,
V. Case No.: 1:25-cv-10340-AK

NATIONAL INSTITUTES OF HEALTH,
et al.

Defendants.

ASSOCIATION OF AMERICAN
UNIVERSITIES, et al.,

Plaintiffs,

Case No.: 1:25-cv-10346-AK

DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.

Defendants.

MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE CITIES, COUNTIES,
AND MAYORS IN SUPPORT OF PLAINTIFFS’ MOTIONS
FOR TEMPORARY RESTRAINING ORDER

Case 1:25-cv-10338-AK

Adam Cederbaum (BBO# 661549)
Corporation Counsel

City of Boston

City Hall, Room 615

Boston, MA 02201

Counsel for the City of Boston

Dated: February 19, 2025

Document 89 Filed 02/19/25 Page 2 of 6

Jonathan B. Miller (BBO# 663012)
Public Rights Project

490 43rd Street, #115

Oakland, CA 94609

Counsel for Amici Curiae
Case 1:25-cv-10338-AK Document 89 Filed 02/19/25 Page 3of6

Proposed Amici Curiae Cities, Counties, and Mayors move for leave to file an amicus brief
in support of Plaintiffs’ motions for temporary restraining order in these three related cases. In
furtherance of the motion, Proposed Amici state as follows:

1. Led by the City of Boston, Massachusetts, the City of Cleveland, Ohio, the
Metropolitan Government of Nashville and Davidson County, Tennessee, the Mayor of
Gainesville, Florida, and the Mayor of Salt Lake City, Utah, the Proposed amici are 45 cities,
counties, and mayors representing jurisdictions from across the country, including from 24
different states.

2. They support Plaintiffs’ motions for temporary restraining order because they, too,
will be harmed by the Notice Number NOTOD-25-068, Supplemental Guidance to the 2024 NIH
Grants Policy Statement: Indirect Cost Rates (the “Rate Change Notice’’) that is the subject of
Plaintiffs’ lawsuits.

3. The Court has authority to grant leave to file an amicus within its “sound
discretion.” Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970); see also Portland Pipe Line
Corp. v. City of S. Portland, No. 2:15-CV-00054-JAW, 2017 WL 79948, at *4 (D. Me. Jan. 9,
2017) (granting leave to file brief where the proposed amici “represent third parties whose
particular interests may be affected by the Court’s ruling and whose particular interests are echoed
in broader public interests”).

4. The proposed brief will assist the Court in its consideration of the pending motion
by presenting additional relevant information squarely within the issues before this Court.

5. Local governments face immediate harms from the Rate Change Notice that

overlap yet are distinct from the harms that institutions, organizations, and states must confront.
Case 1:25-cv-10338-AK Document 89 Filed 02/19/25 Page 4of6

Some are indirect recipients of NIH funding. Additionally, all amici jurisdictions run, closely
partner with, or greatly benefit from the health facilities and institutions in their communities.

6. Local governments will be severely injured by the arbitrary loss of funding by
anchor institutions in their communities. Amici will bear the brunt of their residents’ job losses,
decreased spending in their local business, and depressed economy leading to a gutted tax base.

7. Defendants threaten the funding of the essential and life-saving institutions in their
communities. These institutions provide health care to the residents living in amici jurisdictions,
perform vital research for both their local regions and beyond, and act as engines for the economy
that attract talent and innovation to their communities.

8. Proposed amici offer the Court additional insights about the broad reliance interests
in NIH funding and why the agency action is both arbitrary and capricious and contrary to law. In
addition, the impacts on local jurisdictions demonstrate that the public interest will be served by a
nationwide injunction.

9. Counsel for proposed amici have conferred with counsel for the parties, and the
motion is unopposed. Plaintiffs have consented to the filing and Defendants do not object the
request for leave to file.

10. _ A true and correct copy of the proposed brief has been submitted with this motion.

CONCLUSION
For the foregoing reasons, Proposed Amici Curiae Cities, Counties, and Mayors

respectfully request the Court grant the motion for leave to file the attached brief.
Case 1:25-cv-10338-AK Document 89 Filed 02/19/25 Page 5of6

Respectfully submitted,

/s/ Jonathan B. Miller
Jonathan B. Miller (BBO# 663012)

Public Rights Project

490 43rd Street, #115
Oakland, CA 94609

(510) 738-6788
jon@publicrightsproject.org

Counsel for Amici Curiae

Adam Cederbaum (BBO# 661549)
Corporation Counsel

City of Boston

City Hall, Room 615

Boston, MA 02201

Dated: February 19, 2025 Counsel for the City of Boston
Case 1:25-cv-10338-AK Document 89 Filed 02/19/25 Page 6 of 6

CERTIFICATION OF SERVICE

I hereby certify that a copy of the foregoing was this day served on all counsel via the
court’s electronic service system.

/s/ Jonathan B. Miller
Jonathan B. Miller (BBO#663012)

Dated: February 19, 2025
